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                        No. 21-2835


    IN THE UNITED STATES COURT OF APPEALS
            FOR THE THIRD CIRCUIT


                 BRYAN DAVID RANGE,

                                      Plaintiff-Appellant,

                                v.

ATTORNEY GENERAL OF THE UNITED STATES, et al.,

                                      Defendants-Appellees.


       On Appeal from the United States District Court
          for the Eastern District of Pennsylvania


       SUPPLEMENTAL BRIEF OF APPELLEES
       ADDRESSING UNITED STATES V. RAHIMI


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       On remand from the Supreme Court, this Court has directed the parties

to address the impact of United States v. Rahimi, 144 S. Ct. 1889, 1897 (2024).

Although Rahimi concerned a different provision than the one at issue here, the

methodology adopted and applied by the Supreme Court undermines the

methodology previously applied by this Court in assessing the constitutionality

of 18 U.S.C. § 922(g)(1). Under Rahimi’s methodology, plaintiff Bryan Range’s

constitutional challenge to the federal felon-dispossession statute fails.

                                  ARGUMENT

     THE COURT’S PRIOR ANALYSIS IN THIS CASE IS INCONSISTENT WITH THE
           SUPREME COURT’S SUBSEQUENT DECISION IN RAHIMI.

A.     Rahimi corrects several misconceptions regarding the analytical
       framework set forth in Bruen.

       In New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 19 (2022), the

Supreme Court held that when a firearm regulation is challenged under the

Second Amendment, courts must rely on “the Second Amendment’s text, as

informed by history.” If the “plain text” of the Amendment “covers an

individual’s conduct,” the regulation must be “consistent with this Nation’s

historical tradition of firearm regulation.” Id. at 17.

       In United States v. Rahimi, 144 S. Ct. 1889 (2024), the Supreme Court

applied this historical-tradition test for the first time since Bruen. Rahimi did

not delimit “‘the full scope of the Second Amendment,’” and the Court’s core
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holding concerned “only” the specific statute at issue there. Id. at 1903

(quoting Bruen, 597 U.S. at 31). But it arises in the context of a broader set of

recurring methodological questions regarding the Second Amendment in the

wake of Bruen. And Rahimi made clear that, since Bruen, “some courts have

misunderstood the methodology of [the Supreme Court’s] recent Second

Amendment cases.” Id. at 1897. Those cases “were not meant to suggest a

law trapped in amber.” Id.

      In Rahimi, the Court rejected a Second Amendment challenge to 18

U.S.C. § 922(g)(8), which prohibits the possession of firearms by individuals

subject to certain domestic violence restraining orders. The Court emphasized

that “the appropriate analysis involves considering whether the challenged

regulation is consistent with the principles that underpin our regulatory

tradition,” 144 S. Ct. at 1898, and that those principles “permit[] more than

just regulations identical to ones that could be found in 1791,” id. at 1897-98.

Section 922(g)(8), the Court held, is consistent with the following historical

principle: “[w]hen an individual poses a clear threat of physical violence to

another, the threatening individual may be disarmed.” Id. at 1901.

      As evidence of that historical principle, the Court relied upon “two

distinct legal regimes,” “[t]aken together”: surety laws, which authorized

magistrates to “require individuals suspected of future misbehavior to post a

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bond,” and “going armed” laws, which “provided a mechanism for punishing

those who had menaced others with firearms.” Rahimi, 144 S. Ct. at 1899-

1901. There are a number of differences between these historical laws and

Section 922(g)(8). For example, “[a]fter providing sureties, a person kept

possession of all his firearms,” and “[e]ven if he breached the peace,” the

penalty “was that he and his sureties had to pay a sum of money,” rather than

forfeit weapons or face imprisonment. Id. at 1939 (Thomas, J., dissenting).

Likewise, “going armed” laws imposed a different burden than Section

922(g)(8) on arms-bearing because they “prohibited only carrying certain

weapons . . . in a particular manner . . . and in particular places,” and their

justification was generally linked to “public” misconduct, not to the “conduct

[the modern prohibition] seeks to prevent—interpersonal violence in the

home.” Id. at 1942-43.

      The Court recognized that the challenged prohibition “is by no means

identical to these founding era regimes” but held that “it does not need to be.”

Rahimi, 144 S. Ct. at 1901. Instead, it was sufficient that the prohibition “is

‘relevantly similar’” to historical laws “in both why and how it burdens the

Second Amendment right.” Id. (quoting Bruen, 597 U.S. at 29). As to why,

both the modern law and its historical antecedents regulate “individuals found

to threaten the physical safety of another.” Id. As to how, surety and going

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armed laws, like Section 922(g)(8), “involved judicial determinations of

whether a particular defendant likely would threaten or had threatened another

with a weapon.” Id. at 1902. The Court further emphasized that “the penalty”

for violating historical “going armed laws” included “imprisonment.” Id. The

Court reasoned that “if imprisonment was permissible to respond to the use of

guns to threaten the physical safety of others, then the lesser restriction of

temporary disarmament that Section 922(g)(8) imposes is also permissible.”

Id.

      The Supreme Court’s analysis corrects several methodological

misconceptions that are relevant in evaluating Range’s challenge to Section

922(g)(1). First, Rahimi cautions against placing undue weight on the absence

of historical firearms regulations on a particular topic. The Second

Amendment “permits more than just those regulations identical to ones that

could be found in 1791.” Rahimi, 144 S. Ct. at 1897-98. As Justice Barrett

emphasized in concurrence, “a test that demands overly specific analogues”

would result in a “‘law trapped in amber’” by “forc[ing] 21st-century

regulations to follow late-18th-century policy choices.” Id. at 1925 (Barrett, J.,

concurring). Such a test would also wrongly “assume[] that Founding-era

legislatures maximally exercised their power to regulate, thereby adopting a

‘use it or lose it’ view of legislative authority.” Id. (Barrett, J., concurring).

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Rejecting that incorrect view of legislative authority, the Court held that “the

appropriate analysis involves considering whether the challenged regulation is

consistent with the principles that underpin our regulatory tradition.” Id. at

1898 (majority opinion) (emphasis added).

      Accordingly, the Court was unpersuaded by the dissent’s assertion that

the statute at issue in Rahimi, which prohibits firearm possession by individuals

subject to certain domestic violence restraining orders, violates the Second

Amendment because “interpersonal violence” has existed since the Founding

but the Founders addressed the problem “‘through [the] materially different

means’ of surety laws.” Id. at 1933 (Thomas, J., dissenting) (alteration in

original) (quoting Bruen, 597 U.S. at 26). Under the dissent’s approach, “the

legislatures of today would be limited not by a distant generation’s

determination” that a law like Section 922(g)(8) “was unconstitutional, but by

a distant generation’s failure to consider that such a law might be necessary.”

Id. at 1905 (Sotomayor, J., concurring). The majority’s principles-focused

approach instructs courts not to mistakenly equate historical inaction with

unconstitutionality. Cf. McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 373

(1995) (Scalia, J., dissenting) (“Quite obviously, not every restriction upon

expression that did not exist in 1791 or in 1868 is ipso facto

unconstitutional. . . .”).

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      Second, Rahimi indicates that in consulting historical regulations to

discern why and how they burdened the right to bear arms, a court’s role is not

to nitpick, isolating each historical precursor and asking if it differs from the

challenged regulation in some way. Such a “divide-and-conquer approach to

the historical evidence,” United States v. Perez-Garcia, 96 F.4th 1166, 1191 (9th

Cir. 2024), would be inconsistent with the Court’s assurances that “a ‘historical

twin’ is not required,” Rahimi, 144 S. Ct. at 1903 (quoting Bruen, 597 U.S. at

30). In Rahimi itself, the Court derived the relevant principle from “two

distinct legal regimes” (surety laws and going armed laws), “[t]aken together.”

Id. at 1899-1901. The dissent criticized the Court for “cobbl[ing] together”

multiple historical laws to discern a general principle rather than demanding a

closer match to the why and how of “a single historical law,” id. at 1944

(Thomas, J., dissenting), but the majority’s principles-focused approach is not

so onerous.

      Third, Rahimi indicates that post-ratification history can be relevant to

the historical inquiry if Founding-era history is ambiguous. Justice Kavanaugh

explained that “[p]ost-ratification interpretations and applications by

government actors—at least when reasonably consistent and longstanding—

can be probative of the meaning of vague constitutional text.” Rahimi, 144 S.

Ct. at 1916 (Kavanaugh, J., concurring). Justice Barrett also recognized that

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post-ratification history can be “an important tool.” Id. at 1924 (Barrett, J.,

concurring).

B.    Under Rahimi, Range’s constitutional challenge to Section 922(g)(1)
      fails.

      As an initial matter, in addition to the general historical-tradition test

addressed in Rahimi, the Supreme Court has repeatedly provided specific

assurances that its precedents do not “cast doubt on longstanding prohibitions

on the possession of firearms by felons and the mentally ill,” which the Court

has described as “presumptively lawful.” District of Columbia v. Heller, 554 U.S.

570, 626-27, 627 n.26 (2008). In Rahimi, the Court gave effect to these

reassurances in rejecting the respondent’s argument that Congress cannot bar

firearm possession in the home and in emphasizing that nothing in the Court’s

historical analysis is intended to “suggest that the Second Amendment

prohibits the enactment of laws banning the possession of guns by categories of

persons thought by a legislature to present a special danger of misuse.” 144 S.

Ct. at 1901-02. Justices have joined the Court’s opinions in various cases,

including Rahimi, on the understanding that these assurances from Heller reflect

“traditional exceptions to the right” to bear arms that have already been

“recognized.” Id. at 1923 (Kavanaugh, J., concurring); see also, e.g., New York

State Rifle & Pistol Ass’n v. City of New York, 590 U.S. 336, 364 (2020) (Alito, J.,


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dissenting) (stating that the Court has “recognized that history supported the

constitutionality” of laws “prohibiting possession by felons”).

      Two courts of appeals to consider the issue after Bruen have recognized

that Heller’s assurances regarding felon-dispossession statutes foreclose

individualized as-applied challenges to Section 922(g)(1), and a third has relied

on these assurances while also independently concluding that the historical

record forecloses such challenges. See Vincent v. Garland, 80 F.4th 1197, 1202

(10th Cir. 2023) (reaffirming circuit precedent foreclosing as-applied challenges

based on Heller’s assurances), cert. granted, judgment vacated and remanded, No.

23-683, 2024 WL 3259668 (U.S. July 2, 2024); United States v. Dubois, 94 F.4th

1284, 1293 (11th Cir. 2024) (same); United States v. Jackson, 69 F.4th 495, 501-

02 (8th Cir. 2023) (relying on “these assurances by the Supreme Court, and the

history that supports them”), cert. granted, judgment vacated and remanded, No.

23-6170, 2024 WL 3259675 (U.S. July 2, 2024). Rahimi provides further

support for the conclusions reached by the Eighth, Tenth, and Eleventh

Circuits.

      We respectfully urge that this Court should revisit its conclusion that

application of the felon-dispossession statute to plaintiff Bryan Range is not

“‘consistent with the Nation’s historical tradition of firearm regulation.’”

Range v. Attorney General, 69 F.4th 96, 101-06 (3d Cir. 2023) (en banc) (quoting

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Bruen, 597 U.S. at 24), cert. granted, judgment vacated, No. 23-374, 2024 WL

3259661 (U.S. July 2, 2024). The Court’s prior analysis is inconsistent not

only with the Supreme Court’s reassurances regarding the constitutionality of

felon-dispossession statutes but also with Rahimi’s articulation and application

of the historical-tradition test.1

      1.      History and tradition reflect that legislatures may disarm
              persons who have committed serious crimes and persons
              whose possession of firearms would endanger themselves
              or others.

      Historical tradition establishes at least two principles that support felon

disarmament: (1) legislatures may disarm persons who have been convicted of

serious crimes; and (2) legislatures may disarm “categories of persons thought

by a legislature to present a special danger of misuse,” Rahimi, 144 S. Ct. at

1901 (reserving this issue). Each principle provides an independent ground for

disarming persons subject to Section 922(g)(1)’s disqualification, including

Range.




      1
        As detailed in the petition for a writ of certiorari in this case, the
government maintains that felons are not among “the people” protected by the
Second Amendment. Petition for a Writ of Certiorari at 8-13, Garland v.
Range, No. 23-374 (U.S. Oct. 5, 2023), 2023 WL 6623648 (Range Pet.). This
supplemental brief focuses on the government’s additional arguments that
Section 922(g)(1)’s application to Range is consistent with Supreme Court
precedent and historical tradition, see id. at 8-10, 13-22, because these are the
issues most directly affected by Rahimi.
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                   a.    Disarmament due to serious criminal
                         convictions.

      The principle that legislatures may disarm persons who have been

convicted of serious crimes follows naturally from three types of historical

evidence: Founding-era felony punishment laws, Founding-era disarmament

laws, and post-ratification felon-disarmament laws.

      Founding-era felony punishment laws. As this Court recognized in its

prior opinion, the Founding generation determined that many criminal

offenses were of such “gravity” that they should “expose offenders to the

harshest of punishments,” including death. Range, 69 F.4th at 105. Indeed,

“death was ‘the standard penalty for all serious crimes’ at the time of the

founding.” Bucklew v. Precythe, 587 U.S. 119, 129 (2019) (quoting Stuart

Banner, The Death Penalty: An American History 23 (2002)). That penalty

extended even to non-violent crimes, such as forgery, horse theft, and many

others. See Range, 69 F.4th at 105; see also Act of April 30, 1790, ch. 9, § 14, 1

Stat. 112, 115 (law passed by First Congress making forgery a capital offense);

Banner, supra, at 7-8 (discussing capital punishment for a variety of non-violent

offenses).

      At common law, felons generally also forfeited their lands, goods, and

chattels. See 4 William Blackstone, Commentaries on the Laws of England 380-

389 (1769); see also Range, 69 F.4th at 102, 105 (recognizing that felonies at
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common law were “punishable by estate forfeiture and even death”). That

rule—which reflected the belief that “property was a right derived from society

which one lost by violating society’s laws,” Austin v. United States, 509 U.S.

602, 612 (1993)—took hold in the colonies. See Richard E. Finneran & Steven

K. Luther, Criminal Forfeiture and the Sixth Amendment: The Role of the Jury at

Common Law, 35 Cardozo L. Rev. 1, 35-41 (2013).

      Moreover, a felon who was sentenced to death was deemed “already

dead in law” even before his execution. 4 Blackstone, supra, at 374. That

status, known as civil death, involved “an extinction of civil rights, more or

less complete.” Avery v. Everett, 18 N.E. 148, 150 (N.Y. 1888). A convicted

felon thus had no “right to vote, to sit as a juror, to bear arms, to marry, and [to]

hold office.” Id. at 156 (Earl, J., dissenting) (emphasis added).

      Section 922(g)(1) is “relevantly similar” to those Founding-era laws “in

both why and how it burdens the Second Amendment right.” Rahimi, 144 S.

Ct. at 1901. As for why: Section 922(g)(1) likewise applies because an

individual has been convicted of a felony. As for how: The burden imposed by

Section 922(g)(1) is far more modest than those imposed by Founding-era

criminal laws. If legislatures at the Founding could deprive convicted felons of

the right to life, the right to own property, and all other civil and political



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rights, then legislatures today certainly may deprive them of the right to

possess firearms.

      This Court’s prior opinion stated that “[t]he greater” authority to execute

felons (and subject them to civil death) “does not necessarily include the

lesser” authority to disarm them. Range, 69 F.4th at 105. But in Rahimi, the

Supreme Court relied on a similar logic as part of its principles-focused

approach to analogical reasoning. The Court noted that historical “going

armed laws provided for imprisonment.” Rahimi, 144 S. Ct. at 1902. The

Court then explained that, “if imprisonment was permissible to respond to the

use of guns to threaten the physical safety of others, then the lesser restriction

of temporary disarmament that Section 922(g)(8) imposes is also permissible.”

Id. Applying Rahimi’s principles-focused approach here, the Court should

recognize that because capital punishment and the denial of all civil and

political rights were permissible to respond to the commission of a felony at the

Founding, the lesser restriction of disarmament is also permissible.

      Founding-era disarmament laws. Because death was the standard penalty

for all serious crimes at the Founding, early legislatures had little occasion to

consider whether to disarm convicted criminals who were not executed. Even

so, the available historical evidence shows that the “exclusion of criminals

from the individual right to keep and bear arms . . . was understood” legislative

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power. See Stephen P. Halbrook, The Founders’ Second Amendment: Origins of the

Right to Bear Arms 273 (2008).

      For example, several colonies enacted such disarmament laws during the

Revolution. A New York law provided that a person would “be disarmed”

upon conviction for furnishing provisions to the British army or for opposing

the authority of the Continental Congress. Resolutions of Sept. 1, 1775, in 1

Journals of the Provincial Congress, Provincial Convention, Committee of Safety and

Council of Safety of the State of New-York 132 (1842). A South Carolina law

provided that a person would “be disarmed” upon “due conviction” for

bearing arms against, or opposing the measures of, the Continental Congress.

Resolution of Mar. 13, 1776, in Journal of the Provincial Congress of South

Carolina, 1776, at 77 (1776). Hampshire County, Massachusetts, ordered that

“all persons that shall be convicted of being notoriously inimical to the cause

of American Liberty, be disarmed.” Resolution of July 25-26, 1776, in 1

American Archives: Fifth Series 588 (Peter Force ed., 1848) (emphasis omitted).

And a Connecticut law provided that anyone “duly convicted” of seditious

libel “shall be disarmed and not allowed to have or keep any arms.” Act of

Dec. 1775, in 15 The Public Records of the Colony of Connecticut From May, 1775 to

June 1776, inclusive 193 (Charles J. Hoadly ed., 1890); see also Letter from

George Washington to Governor Cooke (Jan. 6, 1776), in 3 The Writings of

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George Washington 323 (Worthington Chauncey Ford ed., 1889) (stating that

“the other colonies ought to adopt similar” measures).

      The Court’s prior opinion in this case distinguished Founding-era laws

that “disarmed groups . . . like Loyalists” based on its view that Range is not

“part of a similar group today.” Range, 69 F.4th at 105. But under Rahimi’s

principles-based approach, the laws disarming loyalists at least support the

principle—evident from other laws as well—that those who commit serious

crimes may be disarmed. The relevant issue is not whether Range is similar to

a Founding-era loyalist in all respects, but rather whether Congress’s

determination to disarm felons is consistent with the enduring principles that

follow from the historical evidence as a whole.

      Moreover, the principle that legislatures could properly disarm convicted

criminals persisted after the Revolution. At Pennsylvania’s ratifying

convention, Anti-Federalists proposed a bill of rights that, among other things,

would have prohibited “disarming the people or any of them, unless for crimes

committed, or real danger of public injury from individuals.” 2 The Documentary

History of the Ratification of the Constitution 598 (Merrill Jensen ed., 1976)

(emphasis added). The Federalists, who considered a bill of rights

unnecessary, defeated the proposal, but the Anti-Federalists published it in the

“highly influential” Dissent of the Minority of the Convention. Heller, 554

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U.S. at 604; see id. at 624. “Given the Anti-Federalists’ vehement opposition”

to federal power, Adoptive Couple v. Baby Girl, 570 U.S. 637, 664 (2013)

(Thomas, J., concurring), it is telling that even they accepted the disarmament

of convicted criminals.

      Evidence from the early 19th century confirms that the Second

Amendment was understood to permit the disarmament of convicted

criminals. Edward Livingston, one of the Nation’s early leading lawyers,

proposed model legal codes for Louisiana and then for the United States that

have been cited by the Supreme Court as evidence of the types of laws that

would have been considered permissible at the Founding. See Beauharnais v.

Illinois, 343 U.S. 250, 255 n.4 (1952); see also Cruzan v. Director, Mo. Dep’t of

Health, 497 U.S. 261, 294 (1990) (Scalia, J., concurring). Livingston’s

proposed codes, which did not provide for capital punishment, listed the

“suspension” and permanent “forfeiture” of “political or civil rights”—

including the “right of bearing arms in defence of the country”—as among the

punishments courts could impose. See Edward Livingston, A System of Penal

Law for the State of Louisiana 26-27, 29 (1824); id. at 49 (seven years of

imprisonment and permanent disarmament for perjury); id. at 73 (fifteen years

of imprisonment and permanent disarmament for forgery); id. at 138 (one year

of imprisonment and five years of disarmament for fraudulent interference

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with an inheritance); Edward Livingston, A System of Penal Law for the United

States 19-20, 40, 79, 126 (1828) (similar provisions in model penal code for the

United States).

      Although Livingston’s codes were not ultimately adopted, his proposals

won wide acclaim from Founders including Jefferson, Madison, and Story.

See Elon H. Moore, The Livingston Code, 19 J. Am. Inst. Crim. L. &

Criminology 344, 345, 354 (1928). Chief Justice Marshall, who read one of

these codes “with attention and interest,” wrote to Livingston: “Among your

penalties a deprivation of civil and political rights is frequently introduced. I

believe no former legislator has relied sufficiently on this provision; and I have

strong hopes for its efficacy.” Letter from John Marshall to Edward

Livingston (Oct. 24, 1825), https://perma.cc/7A6W-GXK5. Chief Justice

Marshall evidently did not believe that those deprivations raised any

constitutional concerns.

      Felon-disarmament laws. Laws prohibiting convicted criminals from

possessing firearms are themselves sufficiently “longstanding” to form part of

the Nation’s tradition of firearm regulation. Heller, 554 U.S. at 626. The

United States has a century-old tradition of disarming violent criminals

(regardless of whether their crimes constitute felonies). See, e.g., Federal

Firearms Act, ch. 850, § 2(d), 52 Stat. 1250, 1251 (1938). And the United

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States also has a century-old tradition of disarming convicted felons (regardless

of whether their crimes are violent): In the 1920s and 1930s, legislatures began

to prohibit the possession of handguns by those who had been convicted of

felonies against person or property (a category that included nonviolent

property crimes such as theft).2 At around the same time, other legislatures

began to prohibit the possession or purchase of handguns by felons in general.3

Congress followed the latter model in 1961, when it forbade the receipt of a

firearm by anyone convicted of a crime punishable by more than a year of

imprisonment. See Act of Oct. 3, 1961, Pub. L. No. 87-342, § 2, 75 Stat. 757.

Today, at the federal level, Section 922(g)(1) is by far the most commonly

applied firearm disqualification in Section 922(g), a statute that “probably does

more to combat gun violence than any other federal law.” Rehaif v. United

States, 588 U.S. 225, 239 (2019) (Alito, J., dissenting). And every single State

and territory has enacted some form of felon-disarmament law. See

Defendants’ Motion to Dismiss Amended Complaint at 20 nn.9-10, Atkinson v.




      2
        See Act of Mar. 7, 1923, ch. 266, § 5, 1923 N.D. Laws 380; Act of May
4, 1923, ch. 118, § 3, 1923 N.H. Laws 138; Act of June 13, 1923, ch. 339, § 2,
1923 Cal. Stat. 696; Act of Feb. 26, 1925, ch. 260, § 2, 1925 Or. Gen. Laws 468;
Act of Mar. 12, 1925, ch. 207, § 4, 1925 Ind. Laws 495-96.
      3
        See Act of Mar. 5, 1925, ch. 47, § 2, 1925 Nev. Laws 54; Act of Apr. 29,
1925, ch. 284, § 4, 1925 Mass. Acts 323; Act of June 2, 1927, No. 373, § 2, 1927
Mich. Acts 887-88; Act of June 19, 1931, ch. 1098, § 2, 1931 Cal. Stat. 2316.
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Garland, No. 1:21-cv-291 (N.D. Ill. July 15, 2024), Dkt. No. 40-1 (collecting

sources).

      The century-old, nationwide tradition of disarming convicted felons

(including non-violent felons) confirms the correct result in this case.

Although post-ratification evidence cannot overcome clear constitutional text,

“the Framers themselves intended that post-ratification history would shed

light on the meaning of vague constitutional text.” Rahimi, 144 S. Ct. at 1917

(Kavanaugh, J., concurring); see also id. at 1924 (Barrett, J., concurring)

(recognizing that post-ratification history can be “an important tool”). And

the Supreme Court has often relied on post-ratification history, including

history from long after the Founding, in resolving constitutional ambiguities.

See, e.g., City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 75

(2022) (“[F]or the last 50-plus years, federal, state, and local jurisdictions have

repeatedly relied upon on-/off-premises distinctions. . . .”); see also Rahimi, 144

S. Ct. at 1918-19 (Kavanaugh, J., concurring) (collecting numerous additional

examples).4


      4
        In Lara v. Commissioner Pennsylvania State Police, 91 F.4th 122 (3d Cir.
2024), petition for cert. filed, No. 24-93 (U.S. July 25, 2024), this Court held that
“the Second Amendment should be understood according to its public
meaning in 1791,” and then “set aside” a “catalogue of statutes from the mid-
to-late nineteenth century.” The subsequent decision in Rahimi supports our
reliance on the post-Founding history discussed above. In any event, the result
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                   b.    Disarmament of groups deemed dangerous by
                         a legislature

      In addition, the United States has a longstanding tradition of disarming

persons whose possession of firearms poses a danger to themselves or others.

Rahimi involved one aspect of that tradition: disarmament based on a court’s

finding that a particular individual poses such a danger. See Rahimi, 144 S. Ct.

at 1896. This case involves another aspect of that tradition, which Rahimi did

not pass upon: disarmament of “categories of persons thought by a legislature

to present a special danger of misuse.” Id. at 1901.

      Beyond the Founding-era disarmament laws discussed above that

categorically disarmed groups such as loyalists, throughout the 19th century,

American legislatures disarmed classes of individuals who posed a danger of

misusing firearms. At least 29 jurisdictions banned or restricted the sale of

firearms to, or the possession of firearms by, individuals below specified ages.

See Brief for the United States at 24 n.16, Rahimi, 144 S. Ct. 1889 (No. 22-915),

2023 WL 5322645 (collecting citations). Several States banned the sale of

firearms to persons of unsound mind. Id. at 25 n.17. At least a dozen States




in this case is not affected by Lara’s “timeframe question,” id. at 133, because
as discussed, in 1791 the public understood that persons convicted of serious
crimes could be disarmed.
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disarmed “tramps”—that is, vagrants. Id. at 25 n.18. And some States forbade

intoxicated persons from buying or carrying firearms. Id. at 26 n.19.

      State courts upheld those laws, even though the laws did not require an

individualized assessment of danger. The Missouri Supreme Court, for

example, upheld a ban on carrying arms while intoxicated as a “reasonable

regulation” that prevented the “mischief to be apprehended from an

intoxicated person going abroad with fire-arms.” State v. Shelby, 2 S.W. 468,

469 (1886). And the Ohio Supreme Court explained that a law disarming

“tramps” was consistent with the right to bear arms because that right “was

never intended as a warrant for vicious persons to carry weapons with which to

terrorize others.” State v. Hogan, 58 N.E. 572, 575 (1900).

      The tradition of making such categorical judgments continued into the

20th century. In the 1930s, Congress disqualified fugitives and persons under

felony indictment. See Federal Firearms Act, 52 Stat. at 1251. In the 1960s,

Congress disqualified drug users, drug addicts, and persons with mental

illnesses. See Gun Control Act of 1968, Pub. L. No. 90-618, § 102, 82 Stat.

1213, 1220. In the 1980s, Congress disqualified noncitizens who are

unlawfully present in the United States and persons who have been

dishonorably discharged from the Armed Forces. See Firearms Owners’

Protection Act, Pub. L. No. 99-308, § 102(5)(D), 100 Stat. 449, 452 (1986).

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And in the 1990s, it disarmed domestic-violence misdemeanants. See Omnibus

Consolidated Appropriations Act, 1997, Pub. L. No. 104-208, tit. VI,

§ 658(b)(2), 110 Stat. 3009, 3009-372.

      In short, legislatures’ power to make categorical judgments about

dangerousness is one of “the principles that underpin our regulatory tradition.”

Rahimi, 144 S. Ct. at 1898. As the Seventh Circuit put it, “[t]hat some

categorical limits are proper is part of the original meaning” of the Second

Amendment. United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en

banc). When 18th- and 19th-century legislatures enacted laws categorically

disarming loyalists, minors, and vagrants, they did not require case-by-case

findings of dangerousness. Nor have legislatures required such findings when

enacting legislation disarming the categories of persons deemed to pose a

special danger with firearms today, including persons who are mentally ill,

drug users, and others in addition to felons.

      Section 922(g)(1) is consistent with that tradition of imposing categorical

limits on the right to keep and bear arms. Someone who commits a felony

offense “has shown manifest disregard for the rights of others.” United States v.

Everist, 368 F.3d 517, 519 (5th Cir. 2004). It is therefore unsurprising that

“felons are more likely to commit violent crimes” than are law-abiding

individuals. United States v. Barton, 633 F.3d 168, 175 (3d Cir. 2011), overruled

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in part by Binderup v. Attorney General, 836 F.3d 336, 349-50 (3d Cir. 2016) (en

banc). The Supreme Court has repeatedly recognized that persons who have

been “convicted of serious crimes,” as a class, can “be expected to misuse”

firearms. Dickerson v. New Banner Inst., Inc., 460 U.S. 103, 119 (1983); see, e.g.,

Lewis v. United States, 445 U.S. 55, 67 (1980) (“The federal gun laws . . . [focus

on the] fact of conviction . . . in order to keep firearms away from potentially

dangerous persons.”). And “numerous studies” show a “link between past

criminal conduct and future crime, including gun violence.” Binderup, 836

F.3d at 400 (Fuentes, J., concurring in part, dissenting in part, and dissenting

from the judgments); see id. at 400 n.160 (collecting studies).

      Range has argued that dangerousness is the only principle that could

support felon disarmament and that he cannot be disarmed based on

Congress’s categorical dangerousness assessment. See, e.g., Range, 69 F.4th at

104 n.9. That assertion was rejected by a majority of this Court in Binderup

and again in subsequent cases, see id., and is at odds with the historical

evidence detailed above. In any event, Range has failed to offer the Court a

historically principled or judicially administrable basis for assessing particular

felons’ dangerousness. On the contrary, even “if dangerousness is considered

the traditional sine qua non for dispossession,” then “the prohibition on



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possession by convicted felons still passes muster under historical analysis.”

Jackson, 69 F.4th at 504.

          2.    Rahimi directs courts to identify a permissible category of
                firearm regulation and decide whether the challenged law
                fits that category.

          The approach this Court adopted in its prior opinion is inconsistent with

Rahimi’s overall methodology for deriving and applying “the principles that

underpin our regulatory tradition.” Rahimi, 144 S. Ct. at 1898. In determining

whether Section 922(g)(1)’s application to Range is consistent with historical

tradition, it is appropriate to follow the steps that were set forth in Rahimi

itself.

          The Court should first examine the historical evidence as a whole to

determine whether it establishes a category of permissible regulation. The

Supreme Court has already identified several such categories, such as laws

concerning “dangerous and unusual weapons,” Bruen, 597 U.S. at 21, 47

(quoting Heller, 554 U.S. at 627), laws prohibiting the carry of firearms in

“sensitive places,” id. at 30, and laws that “disarm individuals who present a

credible threat to the physical safety of others,” Rahimi, 144 S. Ct. at 1902.

          The two principles discussed above provide additional guidance:

(1) legislatures may disarm persons who have been convicted of serious crimes;

and (2) legislatures may disarm categories of persons thought by a legislature

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to present a special danger of misuse. These principles are supported by

history, are framed at the “right level of generality,” Rahimi, 144 S. Ct. at 1926

(Barrett, J., concurring), and apply to “Range’s situation,” Range, 69 F.4th at

105. Rahimi directs courts to identify principles; “[p]eople like Range,” id. at

106, is not a historically grounded principle.

      After establishing the relevant category (or categories) of permissible

regulation, the Court must then determine whether the challenged law fits

within that category (or categories). In doing so, what matters is whether

application of Section 922(g)(1) today comports with relevant historical

principles, regardless of whether criminal offenses similar to Range’s were

specifically associated with disarmament in the Founding era. Cf. Bruen, 597

U.S. at 47 (making clear that in applying the principle that legislatures may

prohibit “‘dangerous and unusual weapons,’” the governing test looks to the

use of the weapons “today” (quoting Heller, 554 U.S. at 627)); Kanter v. Barr,

919 F.3d 437, 464 (7th Cir. 2019) (Barrett, J., dissenting) (reasoning that a

legislature may disarm a category of persons “based on present-day

judgments” about the appropriate scope of that category).

      This approach does not afford legislatures more “deference” than the

Second Amendment permits. Range, 69 F.4th at 103. Congress’s authority to

disarm persons convicted of serious crimes and categories of persons who

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present a special danger of firearms misuse is subject to meaningful, judicially

enforceable limits. Our argument here is not that Range may be disarmed

solely on the basis that “he is not ‘responsible,’” Rahimi, 144 S. Ct. at 1903,

nor are we contending that Range’s welfare fraud conviction would allow

Congress to disarm him as a non-“law-abiding citizen” if the conviction had

been for a “summary offense[]” or a “petty misdemeanor[],” Range, 69 F.4th at

102. Courts may properly review a disqualification’s breadth, as well as a

legislature’s judgment that a category of persons committed offenses that are

serious or that indicate they would pose a danger if armed. Courts may ask,

for example, whether these judgments are supported by evidence, common

sense, or the judgments of other American legislatures today or over time.

What courts may not do is place undue weight on past generations’ failure to

regulate identical conduct. See Rahimi, 144 S. Ct. at 1906 (Barrett, J.,

concurring) (describing a “‘use it or lose it’ view of legislative authority” as a

“flawed” assumption that is not what originalism calls for).

      3.     Rahimi’s methodology does not leave room for a person to
             obtain an as-applied exemption from Section 922(g)(1)
             based on the nature of his crime or his individual
             circumstances.

      As the government detailed in its petition for a writ of certiorari in this

case, courts should interpret the Second Amendment in line with other

constitutional provisions, which generally distinguish among types of crimes
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based on the maximum authorized penalty. A regime of individualized as-

applied challenges is unsound in principle and unworkable in practice. Range

Pet. 19-22, 2023 WL 6623648.

      Experience in this Circuit since issuance of the prior decision illustrates

some of the problems involved in establishing a judicial regime of

individualized challenges to Section 922(g)(1). While many challenges to

Section 922(g)(1) have correctly been rejected, see, e.g., United States v. Newkirk,

No. 2:20-cr-623, 2024 WL 3518109 (D.N.J. July 23, 2024), some district courts

in this Circuit have relied on the Court’s prior opinion to hold Section

922(g)(1) unconstitutional as applied to persons convicted of felony drug

trafficking, robbery, and other offenses that bear little resemblance to Range’s,

including in the following cases:

       United States v. Quailes, 688 F. Supp. 3d 184, 187-88 (M.D. Pa.), appeal
        pending, No. 23-2533 (3d Cir. filed Aug. 24, 2023): six felony
        convictions, four of which were for drug trafficking.

       United States v. Harper, 689 F. Supp. 3d 16, 19-20 (M.D. Pa.), appeal
        pending, No. 23-2604 (3d Cir. filed Sept. 6, 2023): 13 felony
        convictions, including five for robbery and four for drug trafficking.

       Williams v. Garland, No. 17-cv-2641, 2023 WL 7646490, at *1 (E.D.
        Pa. Nov. 14, 2023), appeal pending, No. 24-1091 (3d Cir. filed Jan. 12,
        2024): recidivist drunk-driving offense punishable by five years’
        imprisonment.




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      Many courts outside this Circuit have likewise relied on this Court’s

reasoning to hold Section 922(g)(1) unconstitutional in a variety of contexts,

including:

       United States v. Duarte, 101 F.4th 657, 661-63 (9th Cir.), vacated upon
        grant of reh’g en banc, No. 22-50048, 2024 WL 3443151 (9th Cir. July
        17, 2024): five felony convictions, including possession of a firearm
        by a felon and possession of a controlled substance for sale.

       United States v. Bullock, 679 F. Supp. 3d 501, 505-06, 506 n.2 (S.D.
        Miss. 2023), appeal pending, No. 23-60408 (5th Cir. filed July 28,
        2023): felony convictions for manslaughter, aggravated assault, fleeing
        law enforcement, and attempted aggravated assault of a law-
        enforcement officer.

       United States v. Prince, 700 F. Supp. 3d 663, 675-76 (N.D. Ill. 2023),
        appeal pending, No. 23-3155 (7th Cir. filed Nov. 8, 2023): held that
        Section 922(g)(1) is facially unconstitutional.

      To the extent the Court’s prior opinion placed dispositive weight on the

nature of Range’s disqualifying offense, it did not explain what features of that

offense distinguish it from other crimes meeting the common definition of

felony. And the historical record, when viewed through Rahimi’s principles-

based approach, provides no sound basis for drawing such distinctions among

felonies. As in other contexts, courts can and should rely on the maximum

penalty authorized by the legislature, which provides an “objective indication[]

of the seriousness with which society regards the offense.” Lewis v. United

States, 518 U.S. 322, 328 (1996) (quotation marks omitted).


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      If, by contrast, the Court treated as constitutionally significant factors

other than the nature of Range’s disqualifying offense, such as the age of his

disqualifying conviction, his “limited” criminal history after that conviction, or

his choice to comply with Section 922(g)(1) while challenging it through this

declaratory-judgment action, see Range, 69 F.4th at 98-99, the opinion does not

explain how those factors are relevant to the constitutional question or what

weight they should carry. There may be numerous respects in which a given

felon is not “like Range,” 69 F.4th at 106, see, e.g., United States v. Moore, No.

23-1843 (3d Cir. Aug. 2, 2024) (rejecting challenge to Section 922(g)(1)); United

States v. Dorsey, 105 F.4th 526, 530 (3d Cir. 2024) (rejecting challenge to

Section 922(g)(1) on plain-error review), but that is not an administrable or

historically supported legal standard. As one district court observed, this

Court’s prior opinion does not provide “district courts meaningful criteria to

evaluate why any dissimilarity” between Section 922(g)(1) and historical

firearms regulations “is relevant (or not relevant) and which level of generality

is to be employed in coming to a decision.” United States v. Jenkins, 697 F.

Supp. 3d 380, 392 (E.D. Pa. 2023).

      Congress made a clear, administrable, and historically supported

categorical judgment tying disarmament to a disqualifying crime’s maximum

punishment, and this Court’s prior decision in this case departed from the

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judicial consensus that Section 922(g)(1) comports with the Second

Amendment. That consensus has grown since the prior decision issued. Since

Bruen, three courts of appeals have concluded that there is no room for “felony-

by-felony litigation regarding the constitutionality of § 922(g)(1).” Jackson, 69

F.4th at 502; see also Vincent, 80 F.4th at 1202; Dubois, 94 F.4th at 1293. And

two other circuits have imposed limits on such felony-by-felony litigation by

holding that, even “assum[ing] for the sake of argument that there is some room

for as-applied challenges” to Section 922(g)(1), the statute plainly has a variety

of constitutional applications. United States v. Gay, 98 F.4th 843, 846 (7th Cir.

2024); see also United States v. Canada, 103 F.4th 257, 258 (4th Cir. 2024).

      Because Section 922(g)(1) is “consistent with the principles that underpin

our regulatory tradition,” Rahimi, 144 S. Ct. 1898, this Court should reject

Range’s challenge to its constitutionality.

                                CONCLUSION

      For the foregoing reasons, the district court’s August 31, 2021, judgment

should be affirmed.




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                        COMBINED CERTIFICATIONS

      1.      Government counsel are not required to be members of the bar of

this Court.

      2.      This brief complies with the Court’s July 12 order because it

contains 6,492 words, excluding the parts of the brief exempted under Federal

Rule of Appellate Procedure 32(f). This brief also complies with the typeface and

type-style requirements of Federal Rule of Appellate Procedure 32(a)(5)-(6)

because it was prepared using Word for Microsoft 365 in Calisto MT 14-point

font, a proportionally spaced typeface.

      3.      The text of the electronic version of this document is identical to the

text of the hard copies that will be provided.

      4.      This document was scanned for viruses using CrowdStrike Falcon

Sensor version 7.15-18513.0, and no virus was detected.



                                               /s/ Kevin B. Soter
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